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c% os 8 ESE POLICE SERGEANT
SE cig e
DEFINITION

To supervise police field and/or office operations on an assigned shift; to supervise and
personally perform patrol, traffic control, investigative and administrative and support duties;
and to perform a variety of administrative and technical duties in support of the department.

Receives direction from higher level supervisory and management staff.

Exercises direct supervision over subordinate swom and non-sworn police staff.

- Recommend and assist in the implementation of goals and objectives for assigned section

or unit; establish schedules and methods for providing effective services and support in
assigned area of responsibility; implement policies and procedures.

Evaluate operations and activities of assigned section and personnel; recommend
improvements and modifications, prepare various reports on operations and activities.

Review the work of departmental personnel to ensure compliance with department policies

and procedures; review reports submitted by officers to verify completeness and the meeting
of prescribed standards.

Participate in evaluating staff performance; work with assigned employees to correct
deficiencies; recommend and implement discipline procedures.

Plan, direct an supervise the activities of officers assigned to field patrol; provide overall
technical and administrative direction to personnel on an assigned shift or area of
assignment; conduct briefings and disseminate information to subordinates; inspect
personnel; inspect and ensure the proper care of department equipment.

Supervise and participate in all normal shift duties as assigned including enforcing local and
State laws, issuing citations, making arrests, administering first aid, transporting offenders,
and conducting investigations.

Periodically contact subordinate officers on shift; follow up on problems and complaints.

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CITY OF JACKSON
Police Sergeant (Continued)

Respond to major crimes, accident scenes and emergencies; assume initial command;
contact and advise superior officers as necessary; conduct random inspections of routine
incidents and public contacts.

Complete required reports and documentation relating to activities.

‘Serve as sergeant in specific assigned areas including criminal investigations, traffic, school

liaison, training, selective enforcement, narcotics and vice, and budget and statistics; provide
overall technical and administrative direction to assigned personnel.

Plan, direct and supervise activities of officers assigned to police investigations; supervise
and conduct criminal investigations including crimes against persons and property, narcotics,
juvenile offenses and related felony crimes; ensure collection, preservation, and proper
handling of physical evidence and property;analyze crime patterns and trends; prepare
associated reports and statistics.

Plan, coordinate, and supervise traffic control activities for special events, parades, and
street closures.

Enforce the policies, procedures, rules, regulations, and general and special orders dealing
with the conduct of the members and employees of the Police Department; conduct internal
reviews and investigations; report on matters related to personnel conduct and discipline;
recommend discipline as warranted.

Supervise and train new sworn and non-sworn officers and employees on departmental
policies, procedures and activities.

Review all reports and activities on assigned shift.

Conduct investigations of complaints against police officers and other departmental
personnel; prepare reports of findings for review and action by higher level command staff.
OTHER IMPORTANT DUTIES AND RESPONSIBILITIES

Assist Police Department personne! with a variety of questions including, but not limited to,

general information regarding ordinances, policies and procedures; respond to and resolve
difficult and sensitive citizen inquiries and complaints.

Attend meetings, presentations and classes pertinent to programs, coordinate creation of
material for presentations; meet with community groups to assess concerns; meet with school
officials to plan school related activities.

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CITY OF JACKSON
Police Sergeant (Continued)

Use departmental computer equipment to input and review records and data, write reports
and other miscellaneous tasks.

Participate in special studies, projects and activities as assigned.
Perform other duties as assigned.

QUALIFICATIONS
Knowledge of:

Police methods and procedures related to patrol, traffic control, crime prevention, and
investigation and identification techniques.

Pertinent Federal, State, and local laws, codes, ordinances and regulations; departmen-
tal rules and regulations.

Criminal Jaw with particular reference to the apprehension, arrest, and custody of
persons committing misdemeanors and felonies, including rules of evidence pertaining
to the search, seizure, and preservation of evidence in traffic and criminal cases.
Geography of the city.

Principles of accident investigation and techniques of interrogation.

Basic budgeting procedures and techniques.

Principles and practices of supervision, training and performance evaluation.

Ability to:

Supervise and direct assigned area of responsibility.

Gather, assemble, analyze, evaluate and use facts and evidence.

Lead and conduct sensitive investigations.

Implement department policies and procedures in fieid situations.

Interpret and apply laws and regulations.

Use, care for, and qualify with firearms.

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CITY OF JACKSON
Police Sergeant (Continued)

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Demonstrate keen powers of observation and memory.
Maintain confidentiality in the performance of duties.

Supervise, train and evaluate assigned staff.

Maintain mental capacity which allows the capability of:
— making sound decisions under pressure
— analyzing and interpreting crime scenes
— demonstrating intellectual capabilities.

Maintain physical condition appropriate to the performance of assigned duties and
responsibilities which may include the following:

— running, walking, standing or sitting for extended periods of time

— operating and caring for firearms

— climbing ladders and stairs

— chasing suspects .

— lifting and holding suspects and victims

—— operating assigned equipment.

Effectively deal with personal danger which may include exposure to:
_ ies firearms
— defective and suspect
— automotive chases at high speeds
— confined or high work places
— dangerous animals
— extremely loud noises a
— asands associated with traffic control and working in and near traffic
— natural and man-made disasters.

Establish and maintain effective working relationships with those contacted in the

course of work including city and other government officials, community groups, and
the general public.

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